                        THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                                No. 5:20-CV-00438-RJ

BILLY HONEYCUTT,                               )
                                               )
                         Plaintiff,            )
                                               )
                         v.                    )       ORDER FOR PAYMENT OF
                                               )       ATTORNEYFEESUNDERTHE
KILOLO KIJAKAZI,                               )       EQUAL ACCESS TO JUSTICE ACT
Acting Commissioner of Social Security,        )
                                               )
                         Defendant.            )
---------------)

       Upon stipulation and agreement of the parties, it is ORDERED that Defendant pay to

Plaintiff $5,500.00 in attorney's fees, in full satisfaction of any and all claims arising under the

Equal Access to Justice Act, 28 U.S.C. § 2412. If the award to Plaintiff is not subject to the

Treasury Offset Program, payment will be made by check payable to Plainti.ff s counsel, Derrick

Arrowood, and mailed to his office at P.O. Box 58129, Raleigh, NC 27658, in accordance with

Plaintiffs assignment to his attorney of his right to payment of attorney's fees under the Equal

Access to Justice Act.

        SO ORDERED this 24th day of June, 2022.




                                               ROBERT B. JONES, JR.
                                               UNITED STATES MAGISTRAITE JUDGE




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